           Case 3:18-cv-00645-REP Document 16-2 Filed 02/22/19 Page 1 of 1 PageID# 150

Contact
                                   Diana Gratz
www.linkedin.com/in/diana-         Art Advisor, Collector, Designer., fine art photography
gratz-42952630 (LinkedIn)          Naples, Florida Area

Top Skills                         Experience
Fine Art
Fine Art Photography               Elizabeth Evans Gallery
Nature Photography                 Director
                                   August 2012 - Present
                                   Naples, Marco Island, Florid. a - Sharon, Connecticut Richmond, Virginia

                                   Elizabeth Evans Gallery specializes in fine art photography, catering to
                                   a select clientele of collectors, designers and art enthusiasts alike. A full-
                                   service gallery, Founding Director, Diana Evans Gratz along with her team of
                                   associates of paramount art acumen offer impeccable art, personal collection
                                   consulting, appraisals among other specialty services to meet the demands
                                   tantamount to today's art world. The gallery represents Clyde Butcher, Iran
                                   Issa-Khan, Fernando Baliño, Greg Lotus, Carlos Domenech, Ran Adler,
                                   among others.
                                   www.elizabethevansgallery.com


                                   Evans Gratz Designs
                                   Founder and President - Director of Design
                                   August 1975 - April 2012 (36 years 9 months)
                                   Naples & Pensacola, Florida - Sharon, Connecticut - Lookout Mountain,
                                   Tennessee

                                   Evans Gratz Designs is a full-service interior design firm of almost four
                                   decades specializing in residential, commercial and corporate projects
                                   with a focus on both traditional and contemporary design, space planning,
                                   outdoor living, and landscape design. Our team of design professionals
                                   create environments suited to each clients needs ranging from large estates,
                                   primary residences, coastal and mountain vacation retreats to the hospitality,
                                   yachting and aviation industries. Evans Gratz Designs has completed projects
                                   throughout the United States and the Caribbean.




                                   Education
                                   The University of Georgia
                                   Bachelor of Fine Arts (B.F.A.), FIne Arts, History of Art



                                                                        Page 1 of 1
